Case 6:17-ap-00044-KSJ   Doc 39-2   Filed 10/17/17   Page 1 of 9
Case 6:17-ap-00044-KSJ   Doc 39-2   Filed 10/17/17   Page 2 of 9
Case 6:17-ap-00044-KSJ   Doc 39-2   Filed 10/17/17   Page 3 of 9
             Case 6:17-ap-00044-KSJ         Doc 39-2     Filed 10/17/17     Page 4 of 9




                    SCHEDULE A TO PROGRESSIVE PLUMBING, INC.’S
                        SUBPOENA TO ACE HOSPITALITY, INC.

                                         INSTRUCTIONS

       1.        In producing the requested items, Ace Hospitality, Inc. (“Ace”) is requested to

furnish all documents, ESI and tangible things held by or available to it regardless of whether any

such item is currently in the possession or custody of Ace’s attorneys, employees, agents,

representatives or otherwise available to Ace.

       2.        Unless otherwise stated within or implied by the request, the time period of each

request is from January 1, 2012, through the date of response.

       3.        If copies or drafts exist of a responsive document, then Ace is requested to produce

and submit for inspection and copying each and every copy and draft which differs in any way

from the original document or from any copy or draft.

       4.        The singular form and masculine form of a noun or pronoun shall embrace, and

shall be read and applied, as the plural or feminine or neuter form of the noun or pronoun, as may

be appropriate under the context of the noun or pronoun.

       5.        If Ace objects to the production of any document on the claim of attorney/client or

work product privilege, then Ace is requested to identify the privilege claimed as well as each

document for which such privilege is claimed, together with the following information with respect

to each such document:

            a.   Date;
            b.   Sender;
            c.   Addressee;
            d.   Subject;
            e.   The basis on which the privilege is claimed; and,
            f.   The names of persons to whom copies of any part of the document were furnished,
                 together with an identification of their employer and their job titles.



                                                  1
             Case 6:17-ap-00044-KSJ        Doc 39-2     Filed 10/17/17      Page 5 of 9



       6.       With respect to e-mails, true and correct hard copies, entirely unedited and

unaltered, may be produced, but each copy must include full header details, entire e-mail threads,

and complete copies of all attachments.

                                          DEFINITIONS

       1.       “Plaintiff” means Kellogg & Kimsey, Inc., together with any related entities,

subsidiaries, employees, agents, representatives, attorneys and any other persons acting or

purporting to act for or on behalf of the foregoing.

       2.       “Ace” means Ace Hospitality, Inc., together with any related entities, subsidiaries,

employees, agents, representatives, attorneys and any other persons acting or purporting to act for

or on behalf of the foregoing.

       3.       “Allied” means Allied World Specialty Insurance Company f/k/a Darwin National

Assurance Company together with any related entities, subsidiaries, employees, agents,

representatives, attorneys and any other persons acting or purporting to act for or on behalf of the

foregoing.

       4.       “Progressive” means Progressive Plumbing, Inc., together with any related entities,

subsidiaries, employees, agents, representatives, attorneys and any other persons acting or

purporting to act for or on behalf of the foregoing.

       5.       “Project” means the hotel project known as 1800 West End Hotel & MX

Development, which is located at 1800 West End Avenue, Nashville, Tennessee 37203.

       6.       “Building Inspector” means the Metropolitan Government of Nashville and

Davidson County, Tennessee, Department of Codes and Building Safety, together with any related

entities, subsidiaries, employees, agents, representatives, attorneys and any other persons acting or

purporting to act for or on behalf of the foregoing.



                                                 2
             Case 6:17-ap-00044-KSJ         Doc 39-2      Filed 10/17/17     Page 6 of 9



       7.       “Person” means any individual, trust, firm, partnership, organization, company,

corporation, business, entity, or association.

       8.       “Communication” means any interchange, expression, conveyance, signal,

delivery, or transmission of thoughts, opinions, or information and includes, but is not limited to,

e-mail, voice-mail, text messaging, instant or online messaging, calendar data, correspondence,

facsimiles, electronic file sharing, in-person meetings, recordings, telephone or conference calls,

on-line chats, and any form of video or internet conferencing.

       9.       “Concerning” means in any way directly or indirectly relating, regarding,

pertaining, or referring to, or discussing, describing, indicating, or disclosing.

       10.      “Relate”, “related”, “relates”, or “relating” means in any way directly or indirectly

concerning, constituting, evidencing, supporting, confirming or representing.

       11.      “Any”, “each”, and “all” shall be read to be all inclusive, and to require the

production of each and every document (as hereinafter defined) responsive to the particular request

in which such term appears.

       12.      “And” and “or” and any other conjunctions or disjunctions used herein shall be read

both conjunctively and disjunctively so as to require the production of all documents (as

hereinafter defined) responsive to all or any part of the particular request in which any conjunction

or disjunction appears.

       13.      The term “including” shall in all instances mean “including, but not limited to”.

       14.      The term “document” includes all electronic media or other tangible forms in which

information is stored and includes all written or graphic matter of every kind and description,

however produced or reproduced, whether draft or final, original or reproduction. The term

“document” includes all copies of a document which contain any additional writing, underlining,



                                                   3
             Case 6:17-ap-00044-KSJ           Doc 39-2     Filed 10/17/17     Page 7 of 9



notes, marginalia, deletions, or any other markings or notations, or are otherwise not identical

copies of the original.

       15.        The past tense shall be construed to include the present tense and vice versa to make

the request inclusive rather than exclusive.

       16.        The singular shall be construed to include the plural and vice versa to make the

request inclusive rather than exclusive.

                                DOCUMENTS TO BE PRODUCED

       1.         Ace’s entire non-privileged file related to the Project.

       2.         All contracts or agreements entered into between Ace and Plaintiff regarding the

Project, including any documents or agreements between Ace and Plaintiff containing terms for

the withholding and/or payment of retainage, as well as any schedules for payments.

       3.         All contracts or agreements entered into between Ace and any other entity related

to the repair or continuance of Progressive’s scope of work on the Project, including any

documents or agreements between Ace and these entities containing terms for the withholding

and/or payment of retainage, as well as any schedules for payments.

       4.         All documents evidencing payments, including invoices, cancelled checks, bank

statements or credit card statements, from Ace to Plaintiff for Plaintiff’s work on the Project.

       5.         All documents evidencing payments, including invoices, cancelled checks, bank

statements or credit card statements, from Ace to Plaintiff for Progressive’s work on the Project.

       6.         All documents, evidencing payments, including invoices, cancelled checks, bank

statements or credit card statements, from Ace to any other entity for the repair or continuance of

Progressive’s work on the Project.

       7.         All payment applications submitted by Plaintiff to Ace regarding Plaintiff’s work

on the Project.
                                                    4
             Case 6:17-ap-00044-KSJ       Doc 39-2     Filed 10/17/17    Page 8 of 9



       8.       All non-privileged Communications, including electronic Communications,

between Ace and Plaintiff, regarding Plaintiff’s work on the Project.

       9.       All non-privileged Communications, including electronic Communications,

between Ace and Plaintiff, regarding payment to Progressive for its work on the Project.

       10.      All non-privileged Communications, including electronic Communications,

between Ace and Plaintiff, regarding individuals or entities hired to complete Progressive’s

allegedly defective or improper work on the Project.

       11.      All non-privileged Communications, including electronic Communications,

between Ace and Plaintiff, regarding payments made by Ace to Plaintiff or any other entity on the

Project.

       12.      All non-privileged Communications, including electronic Communications

between Ace and Plaintiff, regarding any aspect of Progressive’s work on the Project, including

Communications regarding change orders, allegedly deficient or improper work, and completing

Progressive’s scope of work.

       13.      All non-privileged Communications, including electronic Communications

between Ace and the Building Inspector regarding any and all inspections completed by the

Building Inspector on the Project.

       14.      All non-privileged Communications, including electronic Communications

between Ace and Allied regarding the Project.

       15.      All non-privileged Communications, including electronic Communications

between Ace and Progressive regarding the Project.




                                                5
             Case 6:17-ap-00044-KSJ       Doc 39-2     Filed 10/17/17    Page 9 of 9



       16.      All non-privileged Communications, including electronic Communications

between Ace and any entity retained to complete or repair any aspect of Progressive’s scope of

work on the Project.

       17.      All non-privileged Communications, including electronic Communications

between Ace and Plaintiff related to any entity retained to complete or repair any aspect of

Progressive’s scope of work on the Project.

       18.      All non-privileged Communications, including electronic Communications

between Ace and any entity retained to complete or repair any aspect of Progressive’s scope of

work on the Project, regarding payment from Ace to that entity.

       19.      All non-privileged Communications, including electronic Communications

between Ace and Plaintiff related to payment from Ace to any entity retained to complete or repair

any aspect of Progressive’s scope of work on the Project.

       20.      All documents regarding inspections completed on the Project by the Building

Inspector.

       21.      The entire permit history for the project, including all building permits and all

supporting documentation thereto.




                                                6
